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    8                         UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
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        JOSE L. GONZALEZ, JR., an                   Case No: 5:22-cv-01012-CJC-SHK
        individual, and GLORIA SEDENO, an
   12   individual,                                 District Judge: Cormac J. Carney
   13
                                                    Magistrate Judge: Shashi H.
                                                    Kewalramani
                        Plaintiff,
   14
        vs.                                         ORDER OF DISMISSAL WITHOUT
   15
                                                    PREJUDICE

   16
        MERCEDES-BENZ USA, LLC, a
        Delaware Limited Liability Company,
   17
                      Defendants.
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   20         Based on the Request for Voluntary Dismissal, and good cause appearing
   21   therefore, the request is approved. The entire action, including all claims and
   22   counterclaims stated herein against all parties, is hereby ORDERED dismissed
   23   without prejudice.
   24

   25         IT IS SO ORDERED.
   26
        DATE: June 23, 2022                   By:    _____________________________
   27                                                U.S. DISTRICT COURT JUDGE
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                                       ORDER OF DISMISSAL
